Case 0:17-cv-60426-UU Document 297-4 Entered on FLSD Docket 11/05/2018 Page 1 of 15




                              EXHIBIT 3
Russia 'was behind German parliament hack' - BBC News                  Page 1 of 14
Case 0:17-cv-60426-UU Document 297-4 Entered on FLSD Docket 11/05/2018 Page 2 of 15




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   Russia 'was behind German parliament hack'

     13 May 2016




                                                                                      REUTERS


   Germany's domestic intelligence agency has accused Russia of being behind a series
   of cyber attacks on German state computer systems.

   The BfV said a hacker group thought to work for the Russian state had attacked Germany's
   parliament in 2015.

   This week it emerged that hackers linked to the same group had also targeted the Christian
   Democratic Union party of Chancellor Angela Merkel.

   Russia has yet to respond publicly to the accusations made by the BfV.




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Russia 'was behind German parliament hack' - BBC News                  Page 2 of 14
Case 0:17-cv-60426-UU Document 297-4 Entered on FLSD Docket 11/05/2018 Page 3 of 15


   Sabotage threat
   BfV head Hans-Georg Maassen said Germany was a perennial target of a hacker gang known
   as Sofacy/APT 28 that some other experts also believe has close links with the Russian
   state. This group is believed by security experts to be affiliated with the Pawn Storm group that
   has been accused of targeting the CDU party.

   Sofacy/APT 28 is believed to have been formed in 2004 and has been blamed for a wide
   range of attacks on both governments and financial institutions.

   The attacks on German state organisations and institutions were carried out to gather
   intelligence data, Mr Maassen said.

   He added that his agency had been monitoring the group for years. He said some of its hack
   attacks on Germany had been ongoing for more than a decade.

   The attack on the German parliament sought to install software that would have given the
   attackers permanent access to computers used by staff and MPs. Other attacks involved
   gathering data about critical infrastructure such as power plants and other utilities, Mr Maassen
   said.

   "Cyber space is a place of hybrid warfare," he said. "It opens up new operating areas for
   espionage and sabotage."


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Case 0:17-cv-60426-UU Document 297-4 Entered on FLSD Docket 11/05/2018 Page 4 of 15


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Case 0:17-cv-60426-UU Document 297-4 Entered on FLSD Docket 11/05/2018 Page 6 of 15




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Russia 'was behind German parliament hack' - BBC News                  Page 6 of 14
Case 0:17-cv-60426-UU Document 297-4 Entered on FLSD Docket 11/05/2018 Page 7 of 15


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Case 0:17-cv-60426-UU Document 297-4 Entered on FLSD Docket 11/05/2018 Page 8 of 15



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Case 0:17-cv-60426-UU Document 297-4 Entered on FLSD Docket 11/05/2018 Page 9 of 15




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Case 0:17-cv-60426-UU Document 297-4 Entered on FLSD Docket 11/05/2018 Page 10 of 15




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Case 0:17-cv-60426-UU Document 297-4 Entered on FLSD Docket 11/05/2018 Page 11 of 15




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Case 0:17-cv-60426-UU Document 297-4 Entered on FLSD Docket 11/05/2018 Page 12 of 15




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Case 0:17-cv-60426-UU Document 297-4 Entered on FLSD Docket 11/05/2018 Page 13 of 15


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Case 0:17-cv-60426-UU Document 297-4 Entered on FLSD Docket 11/05/2018 Page 14 of 15




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Case 0:17-cv-60426-UU Document 297-4 Entered on FLSD Docket 11/05/2018 Page 15 of 15




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